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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: 0:19-CV-60642-BB

Plaintiff:
DANNY AVILA

VS.

Defendant:
GTR MOTORS, INC

For:

F. Scott Fistel, Esq

Fistel Law Group, P.A.

1451 W. Cypress Creek. Rd.
Suite 300

Ft. Lauderdale, FL 33309

Received by 24 HOUR PROCESS on the 27th day of March, 2019 at 7:42 pm to be served on GTR
MOTORS, INC. c/o GUSEV, IGOR, Registered Agent, 1221 Hayes St., Hollywood, Palm Beach County,
FL 33019.

I, ARTHUR RAZOR, being duly sworn, depose and say that on the 9th day of April, 2019 at 11:54 am, I:

served a CORPORATION by delivering a true copy of the CIVIL COVER SHEET, SUMMONS IN A CIVIL
ACTION, VERIFIED COMPLAINT FOR DAMAGES, LETTER TO DEFENDANT, ORDER REQUIRING
SCHEDULING REPORT AND CERTIFICATES OF INTERESTED PARTIES, and EXHIBITS with the
date and hour of service endorsed thereon by me, to: MARINA GUSEV as EMPLOYLEE IN CHARGE for
GTR MOTORS, INC., at the address of: 720 NORTH ROAD 7, PLANTATION, Palm Beach County, FL
33019, and informed said person of the contents therein, in compliance with state statutes.

Marital Status: Based upon inquiry of party served, Defendant is married.

Description of Person Served: Age: 39, Sex: F, Race/Skin Color: White, Height: 5'3", Weight: 175, Hair:
Dark Blonde, Glasses: Y
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AFFIDAVIT OF SERVICE For 0:19-CV-60642-BB

| certify that | am over the age of 18, have no interest in the above action, and am a Special Process Server,
in good standing, in the judicial circuit in which the process was served and have proper authority in the
jurisdiction in which this service was made. Under penalties of perjury, | declare that | have read the
foregoing document and that the facts stated in it are true, to the best of my knowledge and belief F.S.
92.525 Verification of documents.

hE Coop

ARTHUR RAZOR
Subscribed and Sworn to before me on the 10th day SPS#1146

of April, 28+9 by the affiant who is personally known

    

24 HOUR PROCESS

CHAS YEOMAN 3676 Collin Drive

‘ ION # FF 931116 Suite 1

2. EXPIRES: November 27, 2019 West Palm Beach, FL 33406
Bonded Thru Budget Notary Services (561) 705-2378

Our Job Serial Number: JEG-2019000374
Ref: GTR MOTORS, INC

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